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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUlV[BIA

 

BEYOND PESTICIDES, 701 E Street, SE, CivilActionNo.1:17-cv-1431-RCL
Suite 200, Washington, DC 20003, on behalf
of the general public,

Plaintiff,
v.
DR PEPPER SNAPPLE GROUP, INC., 5301
Legacy Drive, Plano, Texas` 75024, and
MOTT’S LLP, 900 King Street, Rye Brook,
NY 10573

Defendants .

 

 

[PROPGSED/a' ]ORDER

` Upon consideration of the Joint Consent Motionfor`Extension of T ime for
Plaintl`]ij File Its Response to Defena'ants ’ Motion to Dismiss, the Court being fillly informed,
it is this M day of ___Z~L , 2018 hereby
ORDERED that the Motion be GRAN_TED; and it is
FURTHER ORDERED that the following briefing schedule shall be applied for
Plaintiff’ s Amended Complaint and Defendants’ anticipated Motion to Dismiss the Amended
Complaint:
l Plaintift’s Opposition to Defendants’ Motion to Dismiss - Shall be filed no
later than December 14, 2018
¢ Reply in Support of Defendants’ Motion to Dismiss (if one is deemed
necessary) - Shall be filed no later than January 14, 2019`.

€.¢c’. %m,M//'C

Hon. Royce C. Lamberth

